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                                      SUPERHYPE TAPES, LTD.
                                                v.
                              THE PARTNERSHIPS AND UNINCORPORATED
                             ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”
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NAME                      FULL TITLE                                                                        DATE
                                                                                               NUMBER
Led Zeppelin              Black Mountain side. m Jimmy Page.                                 RE0000767432   1969
                          Communication breakdown. w & m Jimmy Page, John Paul
Led Zeppelin                                                                                 RE0000767430   1969
                          Jones & John Henry Bonham.
Led Zeppelin              Dazed and confused. w & m Jimmy Page.                              RE0000767435   1969
                          Good times bad times. w & m Jimmy Page, John Paul Jones
Led Zeppelin                                                                                 RE0000767431   1969
                          & John Henry Bonham.
                          Houses of the holy. Sound recording of 8 musical
Led Zeppelin.             compositions: Jimmy Page, Robert Plant, John Paul Jones &          RE0000864464   1973
                          John Bonham.
                          How many more times? w & m John Henry Bonham, Jimmy
Led Zeppelin                                                                                 RE0000767434   1969
                          Page & John Paul Jones.
Led Zeppelin.             Ideal's celebrity series / Carol Tormey, editor ... [et al.].       CSN0016803    1979
Led Zeppelin.             Ideal's celebrity series / Carol Tormey, editor ... [et al.].       CSN0016803    1978
Led Zeppelin.             Led Zeppelin.                                                      TX0008510562   2017
Led Zeppelin.             Led Zeppelin.                                                      TX0008510571   2017
LED ZEPPELIN.             LED ZEPPELIN.                                                      VAu001334047   2017
Led Zeppelin.             Led Zeppelin.                                                      PA0001941359   2012
Led Zeppelin.             Led Zeppelin.                                                       V3579D644     2009
Led Zeppelin.             Led Zeppelin.                                                       V3579D669     2009
Led zeppelin.             Led zeppelin.                                                       V3578D670     2009
Led Zeppelin.             Led Zeppelin.                                                      PAu002432643   1999
Led Zeppelin.             Led Zeppelin.                                                      VA0000591297   1993
Led Zeppelin.             Led Zeppelin.                                                      TX0000303053   1978
                          Mouse & Kelley; artworks. By Stanley Mouse (Stanley
Led Zeppelin --                                                                              TX0003080509   1980
                          Miller) & Alton Kelley.
Led Zeppelin              News radio : no. 221, Led Zeppelin.                                PA0000872283   1996
Led Zeppelin              Sunnyslope.                                                        SR0000174356   1992
Led Zeppelin.             VH1 legends : no. 9, Led Zeppelin.                                 PA0000922942   1997
                          Your time is gonna come. w & m Jimmy Page & John Paul
Led Zeppelin                                                                                 RE0000767433   1969
                          Jones.
Led Zeppelin 1969.        Led Zeppelin 1969.                                                 VAu001200331   2013
Led Zeppelin (1977)       Led Zeppelin : [no.] CA018.                                        VA0000111211   1981
Led Zeppelin 400 negatives
                           Led Zeppelin 400 negatives & images.                               V3612D614     2012
& images.
Led zeppelin 4cd 4tc.     Led zeppelin 4cd 4tc.                                               V3578D670     2009
Led Zeppelin (4CD/4TC).   Led Zeppelin (4CD/4TC).                                             V3579D669     2009



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NAME                         FULL TITLE                                                                   DATE
                                                                                             NUMBER
Led Zeppelin: 5/16/1973,
                             Led Zeppelin: 5/16/1973, 20 slides Sam Houston Colliseum,
20 slides Sam Houston                                                                       V3608D159     2011
                             Houston TX.
Colliseum, Houston TX.

Led Zeppelin: 5/21/1977,
20 negs The Summit,          Led Zeppelin: 5/21/1977, 20 negs The Summit, Houston TX.       V3608D159     2011
Houston TX.

Led Zeppelin: 5/21/1977,
                          Led Zeppelin: 5/21/1977, 21 negs-color The Summit, Houston
21 negs-color The Summit,                                                                   V3608D159     2011
                          TX.
Houston TX.
Led Zeppelin: 5/21/1977,
                          Led Zeppelin: 5/21/1977, 22 negs-color The Summit, Houston
22 negs-color The Summit,                                                                   V3608D159     2011
                          TX.
Houston TX.

Led Zeppelin: 8/26/1971,
                             Led Zeppelin: 8/26/1971, 36 slides Sam Houston Colliseum,
36 slides Sam Houston                                                                       V3608D159     2011
                             Houston TX.
Colliseum, Houston TX.
Led Zeppelin (A Fulldome
                         Led Zeppelin (A Fulldome Audiovisual Experience)                  PA0001995940   2011
Audiovisual Experience)
Led Zeppelin A to Z : pt.
                             Led Zeppelin A to Z : pt. one.                                TXu000769890   1996
one.
Led Zeppelin : a visual
documentary / by Paul        Led Zeppelin : a visual documentary / by Paul Kendall.        TX0001281713   1983
Kendall.

Led Zeppelin and
Philosophy: All Will Be      Led Zeppelin and Philosophy: All Will Be Revealed.            TX0007349298   2009
Revealed.
Led Zeppelin and
                             Led Zeppelin and Philosophy / Calef, Scott, ed.; Reg. TX 7-
Philosophy / Calef, Scott,                                                                  V9935D314     2016
                             349-3298.
ed.; Reg. TX 7-349-3298.
Led Zeppelin and
                             Led Zeppelin and Philosophy. TX7349298.                        V3620D258     2012
Philosophy. TX7349298.
Led Zeppelin, Bad
Company, Maggie              Led Zeppelin, Bad Company, Maggie collections.                VAu000083702   1985
collections.

Led Zeppelin, Bonzo Dog
Band, Rahsaan Roland Kirk Led Zeppelin, Bonzo Dog Band, Rahsaan Roland Kirk & his
                                                                                           VA0000473995   1969
& his Vibrations Society : Vibrations Society : BG no. 199.
BG no. 199.


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                                                                                          COPYRIGHT
NAME                     FULL TITLE                                                                     DATE
                                                                                           NUMBER
Led Zeppelin / By Led
                         Led Zeppelin / By Led Zeppelin.                                  V9926D277     2014
Zeppelin.
Led Zeppelin / By Led
                         Led Zeppelin / By Led Zeppelin.                                  V3510D110     2004
Zeppelin.
Led Zeppelin classics.   Led Zeppelin classics.                                          PA0000718030   1993
                         Gallows pole. w & m Jimmy Page & Robert Plant, arr. Roy
Led Zeppelin complete                                                                    RE0000840976   1973
                         Perdue.
                         Living loving maid (she's just a woman) By Jimmy Page &
Led Zeppelin complete                                                                     V1740P027     1979
                         Robert Plant. (In Led Zeppelin complete) EP267882 (1969)
                         Out on the tiles. w & m Jimmy Page, Robert Plant & John
Led Zeppelin complete                                                                    RE0000840977   1973
                         Bonham, arr. Roy Perdue.
Led Zeppelin complete    Tangerine. w & m Jimmy Page, arr. Roy Perdue.                   RE0000840975   1973
                         Battle of Evermore. w & m Jimmy Page & Robert Plant, arr.
Led Zeppelin complete
                         Warner Brothers Publications, Inc. employer for hire of Roy     RE0000840986   1973
folio
                         Perdue.

                         Bron-y-aur stomp. w & m Jimmy Page, Robert Plant & John
Led Zeppelin complete
                         Paul Jones, arr. Warner Brothers Publications, Inc., employer   RE0000840979   1973
folio
                         for hire of Roy Perdue.
                         Celebration day. w & m Jimmy Page, Robert Plant & John
Led Zeppelin complete
                         Paul Jones, arr. Warner Brothers Publications, Inc., employer   RE0000840980   1973
folio
                         for hire of Roy Perdue.
Led Zeppelin complete    Four sticks. w & m Jimmy Page & Robert Plant, arr. Warner
                                                                                         RE0000840983   1973
folio                    Brothers Publications, Inc., employer for hire of Roy Perdue.
Led Zeppelin complete    Friends. w & m Jimmy Page & Robert Plant, arr. Warner
                                                                                         RE0000840981   1973
folio                    Brothers Publications, Inc., employer for hire of Roy Perdue.
                         Hats off to (Roy) Harper. Traditional arr. Charles Obscure,
Led Zeppelin complete
                         new arr. Warner Brothers Publications, Inc., employer for hire RE0000840982    1973
folio
                         of Roy Perdue.
                         Misty mountain hop. w & m Jimmy Page, Robert Plant &
Led Zeppelin complete
                         John Paul Jones, arr. Warner Brothers Publications, Inc.        RE0000840984   1973
folio
                         employer for hire of Burt Jamieson.
                         That's the way. w & m Jimmy Page & Robert Plant, arr.
Led Zeppelin complete
                         Warner Brothers Publications, Inc., employer for hire of Roy    RE0000840978   1973
folio
                         Perdue.
                         When the levee breaks. w & m Jimmy Page, Robert Plant,
Led Zeppelin complete    John Bonham, John Paul Jones & Memphis Minnie, arr.
                                                                                         RE0000840985   1973
folio                    Warner Brothers Publications, Inc. employer for hire of Burt
                         Jamieson.


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                                                                                     COPYRIGHT
NAME                       FULL TITLE                                                               DATE
                                                                                      NUMBER
Led Zeppelin Crashed
Here: The Rock and Roll    Led Zeppelin Crashed Here: The Rock and Roll Landmarks of
                                                                                     TX0006937190   2007
Landmarks of North         North America.
America.

LED ZEPPELIN: DAZED
                    LED ZEPPELIN: DAZED AND CONFUSED.                               PA0001817015    2011
AND CONFUSED.
Led Zeppelin: dazed and
                           Led Zeppelin: dazed and confused.                         V3446D287      2000
confused.
Led Zeppelin Denver.       Led Zeppelin Denver.                                      V9957D007      2018
Led Zeppelin : DVD.        Led Zeppelin : DVD.                                       V3527D039      2005
Led Zeppelin DVD.          Led Zeppelin DVD.                                        PA0001383869    2003
Led Zeppelin Expanded
                           Led Zeppelin Expanded Edition.                           TX0008787718    2018
Edition.
The Led Zeppelin
                           Led Zeppelin Experience.                                 CSN0098988      1993
Experience.
The Led Zeppelin
                           Led Zeppelin Experience.                                 CSN0098988      1992
Experience.
Led Zeppelin Fillmore
                           Led Zeppelin Fillmore West : 4/24/1969.                  SRu000625956    2006
West : 4/24/1969.
Led Zeppelin Fillmore
                           Led Zeppelin Fillmore West : 4/27/1969.                  SRu000625959    2006
West : 4/27/1969.
Led Zeppelin film.         Led Zeppelin film.                                        V3609D139      2011
Led Zeppelin (four
                           Led Zeppelin (four symbols)                              TX0006273641    2005
symbols)
Led Zeppelin girl.         Led Zeppelin girl.                                       SRu000447667    2001
Led Zeppelin: Good Times,
Bad Times: A Visual       Led Zeppelin: Good Times, Bad Times: A Visual Biography
                                                                                    TX0007164062    2009
Biography of the Ultimate of the Ultimate Band.
Band.

Led Zeppelin: Good Times,
Bad Times: A Visual       Led Zeppelin: Good Times, Bad Times: A Visual Biography
                                                                                    TX0007150962    2009
Biography of the Ultimate of the Ultimate Band.
Band.
Led Zeppelin - Group
                           Stanley Clarke - Jazz Bassist TAC, et al.                VAu001308954    2017
Color Oakland.
Led Zeppelin group photo
                           Led Zeppelin group photo b&w.                            VA0000971257    1997
b&w.

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NAME                        FULL TITLE                                                                 DATE
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Led Zeppelin group photo
                            Led Zeppelin group photo (b&w)                              VA0001292295   1973
(b&w)
Led Zeppelin--Houses of     Dancing days. w & m Jimmy Page & Robert Plant, arr. Roy
                                                                                        RE0000840961   1973
the holy                    Perdue.
Led Zeppelin--Houses of     D'yer mak'er. w & m John Bonham, John Paul Jones & Robert
                                                                                      RE0000840963     1973
the holy                    Plant, arr. Roy Perdue.
Led Zeppelin--Houses of     No quarter. w & m John Paul Jones, Jimmy Page & Robert
                                                                                        RE0000840962   1973
the holy                    Plant, arr. Roy Perdue.
Led Zeppelin--Houses of     Ocean. w & m John Bonham, John Paul Jones, Jimmy Page &
                                                                                    RE0000840964       1973
the holy                    Robert Plant, arr. Roy Perdue.
Led Zeppelin--Houses of     Song remains the same. w & m Jimmy Page, & Robert Plant,
                                                                                        RE0000840966   1973
the holy                    arr. Roy Perdue.
Led Zeppelin II             Dazed and confused. w & m Jimmy Page.                       RE0000767443   1969
                            Heartbreaker. w & m John Henry Bonham, Robert Plant,
Led Zeppelin II                                                                         RE0000767440   1969
                            Jimmy Page & John Paul Jones.
Led zeppelin ii.            Led zeppelin ii.                                             V3578D670     2009
Led Zeppelin II.            Led Zeppelin II.                                             V3579D644     2009
Led Zeppelin II.            Led Zeppelin II.                                             V3579D669     2009
Led Zeppelin II             Living loving maid. w & m Robert Plant & Jimmy Page.        RE0000767441   1969
                            Moby Dick. m John Henry Bonham, Jimmy Page & John Paul
Led Zeppelin II                                                                    RE0000767439        1969
                            Jones.
Led Zeppelin II             News radio : no. 222, Led Zeppelin II                       PA0000872284   1996
Led Zeppelin II             Ramble on. w & m Robert Plant & Jimmy Page.                 RE0000767442   1969
Led Zeppelin II             Thank you. w & m Robert Plant & Jimmy Page.                 RE0000767438   1969
                            What is and what should never be. w & m Jimmy Page &
Led Zeppelin II                                                                         RE0000767437   1969
                            Robert Plant.
                            Whole lotta love. w & m Jimmy Page, Robert Plant, John Paul
Led Zeppelin II                                                                         RE0000767436   1969
                            Jones & John Henry Bonham.
Led Zeppelin II / By Led
                            Led Zeppelin II / By Led Zeppelin.                           V9926D277     2014
Zeppelin.
Led Zeppelin II / By Led
                            Led Zeppelin II / By Led Zeppelin.                           V3510D110     2004
Zeppelin.
Led Zeppelin II (reissue) -
                            La La.                                                      PA0001927748   2014
recorded by Led Zeppelin
Led Zeppelin III.           Led Zeppelin III.                                            V3579D644     2009
Led zeppelin iii.           Led zeppelin iii.                                            V3578D670     2009
Led Zeppelin III / By Led
                            Led Zeppelin III / By Led Zeppelin.                          V9926D277     2014
Zeppelin.
                                                         5
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NAME                          FULL TITLE                                                                   DATE
                                                                                              NUMBER
Led Zeppelin III / By Led
                              Led Zeppelin III / By Led Zeppelin.                            V3510D110     2004
Zeppelin.
Led Zeppelin III (reissue)
                              Jennings Farm Blues.                                          PA0001926616   2014
recorded by Led Zeppelin

Led Zeppelin in their own
words / compiled by Paul Led Zeppelin in their own words / compiled by Paul Kendall ;
                                                                                      TX0001011575         1982
Kendall ; designed by Paul designed by Paul May.
May.

Led Zeppelin, in through
                              Led Zeppelin, in through the out door.                        VA0000047617   1979
the out door.
Led Zeppelin / introd. by
                              Led Zeppelin / introd. by Tony Horkins.                       TX0004757756   1997
Tony Horkins.
Led Zeppelin IV.              Led Zeppelin IV.                                               V9932D170     2015
Led Zeppelin IV.              Led Zeppelin IV.                                               V3579D644     2009
Led Zeppelin IV / By Led
                              Led Zeppelin IV / By Led Zeppelin.                             V9926D277     2014
Zeppelin.
Led Zeppelin IV - Zoso.       Led Zeppelin IV - Zoso.                                        V3579D669     2009
Led zeppelin iv zoso.         Led zeppelin iv zoso.                                          V3578D670     2009
Led Zeppelin IV--Zoso /
                              Led Zeppelin IV--Zoso / By Led Zeppelin.                       V3510D110     2004
By Led Zeppelin.
Led Zeppelin, Julie
Driscoll, Brian Auger & the   Led Zeppelin, Julie Driscoll, Brian Auger & the Trinity,
                                                                                            VA0000473967   1969
Trinity, Colwell-Winfield :   Colwell-Winfield : BG no. 170.
BG no. 170.
Led Zeppelin-(Jun 1977)
                              Led Zeppelin-(Jun 1977) 99 slides.                             V3612D588     2012
99 slides.
Led Zeppelin, June 23,
                              Led Zeppelin, June 23, 1972, San Diego Sports Arena, #4-
1972, San Diego Sports                                                                       V3473D415     2001
                              1015-66.
Arena, #4-1015-66.
                           Led Zeppelin : live dreams : a photographer's visual history of
                           the Led Zeppelin live experience, 1972-1977 / written by
Led Zeppelin : live dreams                                                                 TX0004010168    1993
                           Laurance Ratner ; photography from the Laurance Ratner
                           collection ; forword by Dave Lewis ; edited by Eric Wynne.
Led Zeppelin March 27,
1970 Unpublished Photos       Led Zeppelin March 27, 1970 Unpublished Photos 1.             VAu001170110   2014
1.
Led Zeppelin March 27,
1970 Unpublished Photos       Led Zeppelin March 27, 1970 Unpublished Photos 2.             VAu001170113   2014
2.

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NAME                        FULL TITLE                                                                     DATE
                                                                                              NUMBER
Led Zeppelin Nassau         Led Zeppelin Nassau Coliseum, Uniondale, NY June 14TH
Coliseum, Uniondale, NY     1972. [Group registration of unpublished photographs. 16        VAu001332953   2018
June 14TH 1972              photographs]

Led Zeppelin on Led
Zeppelin: Interviews and    Led Zeppelin on Led Zeppelin: Interviews and Encounters.        TX0007990030   2014
Encounters.

Led Zeppelin: Physical
Grafitti Tour, 42 images,   Led Zeppelin: Physical Grafitti Tour, 42 images, 1977, Dallas
                                                                                             V3607D880     2011
1977, Dallas Convention     Convention Center Arena, Dallas, TX.
Center Arena, Dallas, TX.
Led Zeppelin portraits /
                            Led Zeppelin portraits / Neal Preston.                          TX0001997258   1986
Neal Preston.
Led Zeppelin portraits /
                            Led Zeppelin portraits / Neal Preston.                          TX0001788857   1983
Neal Preston.
Led Zeppelin rock legends /
words and music by Jimmy Led Zeppelin rock legends / words and music by Jimmy Page,
                                                                                    PA0000718016           1993
Page, Robert Plant, John    Robert Plant, John Paul Jones ... et al.
Paul Jones ... et al.
Led Zeppelin Rules --       Nerf Herder IV.                                                 SR0000626433   2008
Led Zeppelin Salt Palace
and Led Zepelin Arizona     Led Zeppelin Salt Palace and Led Zepelin Arizona Coliseum.      VAu000690000   2005
Coliseum.

Led Zeppelin San
                            Led Zeppelin San Bernadino Unpublished Photo Collection
Bernadino Unpublished                                                                       VAu001170117   2014
                            1969.
Photo Collection 1969.
Led Zeppelin, San Diego
                          Led Zeppelin, San Diego Sports Arena, 35mm negs., 28.5
Sports Arena, 35mm negs.,                                                                    V3612D620     2012
                          frames, 03/14/75.
28.5 frames, 03/14/75.

Led Zeppelin, San Diego
Sports Arena, 35mm negs., Led Zeppelin, San Diego Sports Arena, 35mm negs., 28.5
                                                                                             V3612D620     2012
28.5 frames, 03/14/75 & 9 frames, 03/14/75 & 9 other titles.
other titles.

Led Zeppelin, San Diego
                          Led Zeppelin, San Diego Sports Arena, 35mm negs., 44
Sports Arena, 35mm negs.,                                                                    V3612D620     2012
                          frames, 03/14/75.
44 frames, 03/14/75.

Led Zeppelin, San Diego
                           Led Zeppelin, San Diego Sports Arena, 35mm slides, 13
Sports Arena, 35mm slides,                                                                   V3612D620     2012
                           frames, 03/14/75.
13 frames, 03/14/75.
                                                          7
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Led Zeppelin, San Diego
                           Led Zeppelin, San Diego Sports Arena, 35mm slides, 22
Sports Arena, 35mm slides,                                                                V3612D620     2012
                           frames, 06/19/77.
22 frames, 06/19/77.

Led Zeppelin, San Diego
                           Led Zeppelin, San Diego Sports Arena, 35mm slides, 26
Sports Arena, 35mm slides,                                                                V3612D620     2012
                           frames, 06/19/7.
26 frames, 06/19/7.
Led Zeppelin, San Diego
                           Led Zeppelin, San Diego Sports Arena, 35mm slides, 28
Sports Arena, 35mm slides,                                                                V3612D620     2012
                           frames, 06/19/77.
28 frames, 06/19/77.

Led Zeppelin, San Diego
                           Led Zeppelin, San Diego Sports Arena, 35mm slides, 30
Sports Arena, 35mm slides,                                                                V3612D620     2012
                           frames, 06/19/77.
30 frames, 06/19/77.

Led Zeppelin, San Diego
                           Led Zeppelin, San Diego Sports Arena, 35mm slides, 30
Sports Arena, 35mm slides,                                                                V3612D620     2012
                           frames, 06/19/77.
30 frames, 06/19/77.

Led Zeppelin, San Diego
                           Led Zeppelin, San Diego Sports Arena, 35mm slides, 6
Sports Arena, 35mm slides,                                                                V3612D620     2012
                           frames, 06/19/77.
6 frames, 06/19/77.

Led Zeppelin, San Diego
                           Led Zeppelin, San Diego Sports Arena, 35mm slides, 8
Sports Arena, 35mm slides,                                                                V3612D620     2012
                           frames, 06/19/77.
8 frames, 06/19/77.

Led Zeppelin September 4,
                          Led Zeppelin September 4, 1970 Unpublished Photo
1970 Unpublished Photo                                                                   VAu001170114   2014
                          Collection 1.
Collection 1.
Led Zeppelin September 4,
                          Led Zeppelin September 4, 1970 Unpublished Photo
1970 Unpublished Photo                                                                   VAu001170115   2014
                          Collection 2.
Collection 2.

Led Zeppelin: The Oral
History of the World's     Led Zeppelin: The Oral History of the World's Greatest Rock
                                                                                         TX0007600661   2012
Greatest Rock Band         Band (9780470894323) K.
(9780470894323) K.
Led Zeppelin tie.
                           Led Zeppelin tie. VA591297.                                    V3532D501     2006
VA591297.




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NAME                         FULL TITLE                                                                     DATE
                                                                                               NUMBER

Led Zeppelin - U05953.jpg
Led Zeppelin - U05954.jpg
Led Zeppelin - U05955.jpg Group Registration of Published Photographs- Adrian Boot;
                                                                                             VA0002080775   1990
Led Zeppelin - U10689.jpg 1990 photos: all published 1.9.90, 750 photos.
Led Zeppelin - U10690.jpg
Led Zeppelin - U1326

Led Zeppelin, une
illustration du heavy metal /
Alain Dister [pseud. of       Led Zeppelin, une illustration du heavy metal / Alain Dister
Alain Sicard DeSailly] ;      [pseud. of Alain Sicard DeSailly] ; suivie d'une etude         TX0000514805   1980
suivie d'une etude            discographique par Benoit Feller.
discographique par Benoit
Feller.

Led Zeppelin Untitled May
                          Led Zeppelin Untitled May 1969 Photos 2.                           VAu001170118   2014
1969 Photos 2.
Led Zeppelin Untitled May
                          Led Zeppelin Untitled May 1969 Photos no.1.                        VAu001170112   2014
1969 Photos no.1.
Led Zeppelin unveiled.       Led Zeppelin unveiled.                                          PA0000930775   1998
Led Zeppelin's Music: True   J.J. Jackson Remembers Led Zeppelin: The Music and The
                                                                                             TX0007324857   2009
Blues & Beyond               Guys Who Made It.
Led Zeppelin: 1975, 11
                             Led Zeppelin: 1975, 11 slides Hobby airport.                     V3608D159     2011
slides Hobby airport.
Led Zeppelin
CollectionLed Zeppelin       Led Zeppelin CollectionLed Zeppelin Group 1 neg 1, Led
Group 1 neg 1, Led           Zeppelin Group 1 neg 2, Led Zeppelin Group 1 neg 3, Led
Zeppelin Group 1 neg 2,      Zeppelin Group 1 neg4, Led Zeppelin Group 1 neg 5, Led          VAu001332137   2018
Led Zeppelin Group 1 neg     Zeppelin Group 1 neg 6, Led Zeppelin Group 1 neg 7, Led
3, Led Zeppelin Group 1      Zeppelin Group 1 neg 8, Led Zeppe
neg4, Led Zeppelin Gro
                             Four sticks / By Jimmy Page & Robert Plant. (In Led
Led Zeppelin complete                                                                         V1744P359     1979
                             Zeppelin complete) EP319301 (1973) & EU301123 (1972)
Led Zeppelin 1970 jan 2
1990; Led Zeppelin 1973
jan 2 1990; Led Zeppelin
1975 jan 3 1990; Led      Led Zeppelin swan song, et al.                                     VA0002042824   1990
Zeppelin 1977 jan 4 1990;
Led Zeppelin Color
Vintage jan
Led Zeppelin--Houses of Crunge. w & m John Bonham, John Paul Jones, Jimmy Page
                                                                                             RE0000840965   1973
the holy                  & Robert Plant, arr. Roy Perdue.

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         Case: 1:20-cv-01589 Document #: 1-2 Filed: 03/04/20 Page 11 of 11 PageID #:36
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                              photo editing by Charles R. Cross and Neal Preston ; with       TX0003354252   1991
Flannigan ; with photos. by
                              contributions by Jimmy Guterman, Dave Schulps, and Robert
Neal Preston ; photo editing
                              Godwin ; resea
by Charles




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